Case 8:04-cr-00457-JSM-AAS Document 316 Filed 04/25/05 Page 1 of 8 PageID 803
        Case 8:04-cr-00457-JSM-AAS Document 316 Filed 04/25/05 Page 2 of 8 PageID 804
A 0 245B (Rev 12/03) Sheet 2 - Irnprisonnlent
Defendant:      GABRIEL SANTIAGO                                                                            Judgment
                                                                                                               -         - -2_ of 6
                                                                                                                     - Page       -
Case No.:       8:Wcr-457-T-30MSS



          After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$9 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, hut not greater than necessary, to coinply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
in~prisonedfor a total term of O h X HUNDRED and T\VlWl3"EONE (121) AIONTHS as to Count One of the Superseding
Indictment.




-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman,
if possible. The Court further recommends that the defendant panicipate in the 500 hour inrcnsive drug treatment program while
incarcerated. The defendant may also participate in the dual diagnosis program, if available.



X The dcfendanr is remanded to the custody of the United States Marshal.
-
-The defendant shall surrender to the United States Marshal for this district.
          -at -a.m.1p.m. on -.
          -as notified by the United States hlarshal.
-The defendant shall surrender for service of sentence at [he institution designated hy the Bureau o f Prisons.

             before 2 p.m. on -.
         -as notified by the United States Marshal.
         -as notified by the Probation or Pretrial SenricesOffice.




          I have executed this judgment as follows:




          Defendant delivered on                                                 to                                               at

                                                                      , with a certified copy of this judgtnenr.



                                                                                        United States Marshal

                                                                    By:

                                                                    Deputy hlarshal
        Case 8:04-cr-00457-JSM-AAS Document 316 Filed 04/25/05 Page 3 of 8 PageID 805
.40 1458 (Rev. 12/03)Sheel 3 - Supemisrd Release

Defendant:           GABRIEL SANTIAGO                                                       Judgment - Page 3of 6
Case No.:            8:04-cr-457-T-30MSS
                                                          SWERVISED RELEASE

       Upon release from imprisonment, the defendant shall he on s~lpcrvisedreleilse for a term of FIVE (5) YEARS as to
Count One of the Superseding Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state. or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse. However, the Court authorizes the probation officer to conduct random drug testing not to exceed 104 tests
         per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accord,mce with
          the Schedule of Payments sheet of this judgment.

          The defendant shall conlply with the standard conditiotis that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district \vithout the permission of the court or probation officer:
          the defendant shall repon to the probation officer and shall submit a truthful and complcic nrirten report uilhin the first live days ofeach
          month;
          the defendant shall ms~vertruthfully all inquiries by the probation oflicer and follow the instructions of the probation officer:

             he defendant shall support his or her dependents and meet othsr family responsibiliries:

          the defendant s11;dl work regul;~rly;I( a lawful occupation. unless excused by the probation officer for schooling, training. or other
          acceptable reasons:
          the defendant shall notify the probation officcr at Icas~ten days prior to any change in residence or employment;
          the defendant shall refrain from excessive use of alcohol and shall not purchasc. possess, use. distribute. or administer any controlled
          substance or any pwaphernalia related to any controlled substances. except as prescribed by a physician:

          the defendant shall not frequent places where controllcd substances arc illegally sold, uscd, distributed. or administered:
          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony. unless granted permission to do so by the probation officer:
          the defendant shall permit a probation officer to visit him or h a at any timc at home or elsewhere and shall pcnnit confiscation of an)
          contraband observed in plain view of the probation ollicer:

          the defendant shall notifi the probation officer within scvcnty-two hours of being arrested or questioned by a law enforcement officer;
          the defcndant shall not enter into any agreement to act as an informcr or a special agent of a la\\ snforcement agency uithout the
          permission of the court;
          as direcred by the probation officcr, the defendant shall notilj thtrd partics of risks that may he occasioned by the dcl'endant's criminal record
          or personal histon or characteristics and shall permit the probation ollicsr to makc such notifications and to confirm the defendant's
          compliance I\ ith such notification require men^
       Case 8:04-cr-00457-JSM-AAS Document 316 Filed 04/25/05 Page 4 of 8 PageID 806
A 0 245B (Rev. 12/03) Sheet 3C - Supwised Release

Defendant:          GABRIEL SANTIAGO                                                          Judgment - Page 4 of 6
Case No.:           8:0;1-cr-457-T-30MSS
                                            SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:

X         The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andfor inpatient) for treatment
          of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of subst,mce use or
          abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
          amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based 011 the probation officer's
          determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104 tests
          per year.
       Case 8:04-cr-00457-JSM-AAS Document 316 Filed 04/25/05 Page 5 of 8 PageID 807
 A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:         GABRIEL SANTIAGO                                               Judgment - Page 5 of 6
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                                          CRLllINAL hIOhTTARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedulc of payments on Sheet 6.
                            Assessment                                                      Total Restitution

          Totals:           $100.00                              Waived                     N/A


 -        The determination of restitution is deferred until .            An Amended Jltdgnlertr irr a Criminal Case ( A 0 245C) will
          be en~eredafter such determination.

 -        The defendant must niake restitution (including conlnlunity restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payer shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or ercentaee payment column below. However, pursuant to 18 U.S.C. $
          3664(i), all nonfederal victims must be paitbefore h e United States.
                                                                                                              Priority Order or
                                                *Total                       Arnount of                       Percentage of
 Name of Pnvec                                Amount of Loss              Kcstitution Ordered                 Pavment




                            Totals:           -
                                              S                           S

 -        Restitution amount ordered pursuant to plea agreement S
 -        The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fiheenth dy after the dale of the judgment, pursuant to 18 U.S.C. $3612(0. All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -        The court determined that the defendant does not have [he ability to pay interest and it is ordered that:
         -        the interest requirement is waived for the - fine       - restitution.
         -        the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10. 1 10A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:         GABRIEL SANTIAGO                                                 Judgment - Page 6of 6
Case No.:          8:0j-cr-457-T-30MSS




Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       X         Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                    , or

                             -in accordance - C. - D, - E or - F below: or
B.       -         Payment to begin inlmediately (may be combined with -C , - D, or -F below): or
C.       -         Payment in equal                      (e.g., weekly, monthly, quarterly) installn~entsof S             over a
                   period of                e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                   date of this j u d g ~ n e ~or
                                               t;
D.       -         Payment in equal                 (e.g., weekly, monthly, quarterly) installn~entsof S              over a
                   ~ e r i o dof
                                 . (e.g., months or years) to commence                    (e.g. 30 or 60 days) after release
                   from imprisonment to a term of supervision: or
E.       -         Payment during the term of supervised release will commence within                         (e.g.. 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this jud ment imposes a period of im                           payment of criminal
         B                              F                              7
nlonetar penalties is due during im risonment. All crimina monetary penalties, except
Federal ureau of Prisons' Inmate inancial Responsibility Program. are made to the
                                                                                                                      made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property.
                                                                                                      i: d'
or portions thereof, subject to forfeiture. which are in the possession or control of t e efendant or the defendant's
nominees. The Court makes final the preliminary order of forfeiture and will attach that order to this Judgment and
Commitment Order.


Payments shall be applied in the following order: ( 1 ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, ( 6 ) fine interest (7) penalties, and (8) costs, including cost of prosecution and court cosrs.
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 UNITED STATES OF AMERICA.

        Plaintiff,

 v.                                                CASE NO. 8:04-cr-475-T-30MSS

 DOUGLAS ROSADO, and
 GABRIEL SANTIAGO,

        Defendants.


                            FORFEITURE MONEY JUDGMENT

        THIS CAUSE comes before the Court upon the filing of the Motion of the United

 States of America for Entry of a Forfeiture Money Judgment, which, at sentencing, shall

 be a final order of forfeiture as to funds in the amount of $10,800,000.00 in United

 States currency, for which defendants Douglas Rosado and Gabriel Santiago are

 jointly and severally liable to the United States, along with all other defendants in the

 found guilty of the heroin trafficking conspiracy charged in Count One of the First

 Superseding lndictment and Second Superseding Indictment filed in the instant case.

 For good cause shown, the Government's motion is GRANTED. The court hereby finds

 that $10,800,000.00 in United States currency is the amount of funds obtained by the

 defendants as a result of the conspiracy charged in Count One of the First Superseding

 lndictment in violation of 21 U.S.C. § 841(a)(l), all in violation of 21 U.S.C. §§

 841(b)(l)(A)(i) and 846, for which defendants Douglas Rosado and Gabriel Santiago

 have been found guilty. Accordingly, it is hereby

        ORDERED, ADJUDGED and DECREED that defendants Douglas Rosado and
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 Gabriel Santiago are jointly and severally liable with all other defendants found guilty of

the heroin trafficking conspiracy charged in Count One of the First Superseding

 Indictment and Count One of the Second Superseding Indictment, pursuant to the

 provisions of 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(b)(2), for a forfeiture money

judgment in the amount of $1O,8OO,OOO.OO in United States currency, which represents

the like amount of proceeds the defendants obtained as a result of the conspiracy to

 commit violations of 21 U.S.C. § 841(a)(l), all in violation of 21 U.S.C. §§

 841(b)(l )(A)(i) and 846.

               DONE and ORDERED in Tampa, Florida on April 22, 2005.




 Copies to:    Adelaide G. Few, AUSA
               All Attorneys of Record
